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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION
   ULTRAVISION TECHNOLOGIES, LLC,   )      Case No. 2:19-cv-00291-JRG-RSP
                                    )      (LEAD CASE)
                      Plaintiff,    )
                                    )      JURY TRIAL DEMANDED
         v.                         )
                                    )
   HOLOPHANE EUROPE LIMITED,        )
   ACUITY BRANDS LIGHTING DE        )
   MEXICO S DE RL DE CV, HOLOPHANE )
   S.A. DE CV and ARIZONA (TIANJIN) )
   ELECTRONICS PRODUCT TRADE CO.,   )
   LTD.,                            )
                                    )      Case No 2:19-cv-00398-JRG-RSP
   YAHAM OPTOELECTRONICS CO., LTD., )      (CONSOLIDATED CASE)
                      Defendants.   )      JURY TRIAL DEMANDED
                                    )




              PLAINTIFF ULTRAVISION TECHNOLOGIES, LLC’S
   OPPOSED MOTION TO STRIKE PORTIONS OF THE REBUTTAL EXPERT REPORT
       OF MICHAEL N. GERSHOWITZ, PE REGARDING NON-INFRINGEMENT
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   I.      INTRODUCTION

           Plaintiff Ultravision Technologies LLC (“Ultravision”) respectfully submits this opposed

   motion to strike portions of the Rebuttal Expert Report of Michael N. Gershowitz, PE Regarding

   Non-Infringement (the “Gershowitz Report”) relating to application of claim constructions that

   contradict the Court’s Claim Construction Order. Mr. Gershowitz contradicts the Court’s Claim

   Construction because he imposes minimum size requirements on the terms “display surface” and

   “area.” See Ex. A at ¶¶ 132-139, 195-201, and 215-220. Related to his new size requirements,

   Mr. Gershowitz further contradicts the Court’s constructions by imposing requirements on the

   position of the claimed lighting apparatus. See e.g. id. at ¶ 134. The Court’s construction of

   “display surface” as “sign surface” and its ruling that “area” has its plain and ordinary meaning

   did not limit a “sign” or “area” to standard billboard sizes. Rather than applying the Court’s claim

   constructions, Mr. Gershowitz creates these requirements by importing portions of the

   specification, and purporting to apply light spillage limitations of non-asserted claims.

   Accordingly, Mr. Gershowitz’s non-infringement opinions regarding the size required for a “sign

   surface” or “area,” and the position of the light fixture relative to the sign surface, at paragraphs

   132-139, 195-201, 215-220, 222, 228, 232-233, 236, and 239 should be stricken because they are

   at least irrelevant to any issues in this case, highly prejudicial, and would be confusing and

   unhelpful to the trier of fact.

   II.     FACTUAL BACKGROUND

           On May 19, 2020, the parties submitted their P.R. 4-2 Disclosures providing their

   preliminary proposed claim constructions. The Defendants proposed that the term “display

   surface” be construed as “sign surface,” and that the term “substantially the entire display surface”

   be ruled indefinite. Ex. B. at 5, 9. Defendants proposed that “area” be construed as “sign.”

   Defendants’ proposals made no mention of a size requirement. Id. Defendants’ claim construction
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   briefing similarly failed to mention any purported size requirement for an area or sign surface. See

   Dkt. 91 at 23-27.

          The Court construed “display surface” to mean “sign surface.” Dkt. 111 at 48. The Court

   reasoned that “[t]he specification does include two instances where it suggest uses other than

   billboards. However, even in these two instances, the specification indicates that lighting may be

   applied to “any type of sign that is externally illuminated.” ’410 Patent at 2:6–9; see also id. at

   6:47–52 (“It is understood that various standard configurations of the lighting assembly 11 may

   be developed for various billboard and/or other externally.” Id. at 47-48.

          The Court ruled that the term “area” has its plain and ordinary meaning, rejecting

   Defendants’ proposal limiting the term to a “sign.” See Dkt. 111 at 50. The Court reasoned that

   “the term “area” and “region” are broader than the previous term “display surface.” Moreover, the

   intrinsic evidence indicates that when the patentees intended to limit an “area” or “region” to a

   “display surface,” they did so explicitly. . . Here the Court finds that it would be improper to limit

   the broader terms “area” and “region” to the single “display surface” embodiment disclosed in the

   specification.” Id. at 49-50.

          On November 6, 2020, the Holophane Defendants submitted the Gershowitz Report.

   Mr. Gershowitz’s non-infringement opinions imposed a minimum size requirement on “sign” of

   the Court’s “display surface” construction based on the size of a standard billboard and on light

   spillage requirements purportedly from non-asserted claims.




                                                                                       Mr. Gershowitz,




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   similarly, imposed requirements on mounting position in relation to the display surface.



                                                                                                    Mr.

   Gershowitz does not identify any support in the Court’s construction for his new requirements that

   a “sign surface” be the size of a standard billboard, or that it be positioned at least 5 feet and 6

   inches away from the sign to operate.

          Mr. Gershowitz similarly imposed minimum size requirements on the plain and ordinary

   meaning of the term “area.”




                                                                                       Mr. Gershowitz

   similarly fails to identify any support for these new requirements in the plain meaning of “area.”

          The Asserted Claims do not include any limitations on a minimum size, or a maximum

   light spillage beyond the display or area. During his deposition, Mr. Gershowitz could not identify

   any such limitations. See Ex. C at 98:9-103:3.




   III.   AS SET FORTH BELOW, MR. GERSHOWITZ’S OPINIONS DEVIATE
          IMPERMISSIBLY FROM THE COURT’S CLAIM CONSTRUCTION ORDER
          BECAUSE HE REQUIRES MORE THAN THE COURT’S CONSTRUCTION OF
          DISPLAY SURFACE (I.E. A “SIGN SURFACE”), AND REQUIRES MORE
          THAN THE PLAIN AND ORDINARY MEANING OF THE TERM
          “AREA”LEGAL STANDARD

          An expert witness may provide opinion testimony if “(a) the expert’s scientific, technical,

   or other specialized knowledge will help the trier of fact to understand the evidence or to determine



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   a fact in issue; (b) the testimony is based on sufficient facts or data; (c) the testimony is the product

   of reliable principles and methods; and (d) the expert has reliably applied the principles and

   methods to the facts of the case.” Fed. R. Evid. 702.

           “Although the Fifth Circuit and other courts have identified various factors that the district

   court may consider in determining whether an expert’s testimony should be admitted, the common

   nature of these factors direct the trial court to consider as its ultimate inquiry whether the expert’s

   testimony is sufficiently reliable and relevant to be helpful to the finder of fact and thus to warrant

   admission at trial.” BMC Software, Inc. v. Servicenow, Inc., No. 2:14-cv-903-JRG, 2016 WL

   367251, at *1 (E.D. Tex. Jan. 29, 2016) (citing United States v. Valencia, 600 F.3d 389, 424 (5th

   Cir. 2010)).

           “The infringement inquiry compares properly construed claims with the accused product

   or process.” Atl. Thermoplastics Co., Inc. v. Faytex Corp., 974 F.2d 1299, 1300 (Fed. Cir. 1992)

   (citations omitted). An expert’s infringement opinion must use “the claim construction adopted by

   the court.” Intellectual Sci. & Tech., Inc. v. Sony Elecs., Inc., 589 F.3d 1179, 1183 (Fed. Cir. 2009)

   (citation omitted). “Expert testimony based on an impermissible claim construction is properly

   excluded as irrelevant and on the basis that the evidence could confuse the jury.” Network-1 Techs.,

   Inc. v. Alcatel-Lucent USA, Inc., No. 6:11-cv-492-RWS-KNM, 2017 WL 4020591, at *3 (E.D.

   Tex. Sept. 13, 2017) (citing EMC Corp. v. Pure Storage, Inc., 154 F. Supp. 3d 81, 109 (D. Del.

   2016)). “No party may contradict the court’s [claim] construction to a jury.” Exergen Corp. v. Wal-

   Mart Stores, Inc., 575 F.3d 1312, 1321 (Fed. Cir. 2009).

           Experts are not permitted to render any conclusions regarding the scope of the Patents-in-

   Suit or particular claim limitations that deviate from the Court’s claim construction holdings. See

   ContentGuard Holdings, Inc. v. Amazon.com, Inc., No. 2:13-cv-1112-JRG, 2015 WL 4944514, *4




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   (E.D. Tex. Aug. 19, 2015) (“Accordingly, all experts, whether Plaintiff’s or Defendants’, are

   hereby excluded from providing any opinions that violate these constraints, and any portions of

   their reports in conflict with this Order are stricken.”). Further, expert opinions that are based on

   an interpretation of the Court’s construction that is the equivalent of any construction that the Court

   previously considered and expressly rejected were also excluded. Id.

   IV.    ANALYSIS

          Contrary to this Court’s Claim Construction Order, Mr. Gershowitz requires that a “sign

   surface” be the size of a billboard referenced in advertising material for the Sign Vue II LED

                 and be illuminated from the manufacturer recommended position. Ex. A at ¶¶ 132-

   139. Mr. Gershowitz similarly requires that an “area” meet some unspecified size requirement

   larger than the 5’x11’ foot section Dr. Coleman used in his tests. Id. at ¶¶ 195-201, 215-220, 222,

   228, 232-233, 236, and 239. Mr. Gershowitz further requires that both terms comport with various

   embodiments of the specification and satisfy light-spillage requirements of non-asserted claims.

   Id. These opinions render Mr. Gershowitz’s opinions regarding the claimed “display surface” and

   “area” at paragraphs 132-139, 195-201, 215-220, 222, 228, 232-233, 236, and 239 irrelevant to

   any issues in this case, prejudicial, and confusing and unhelpful to the trier of fact.

          First, the Court’s construction is silent on the size of a “sign surface” or “area” and on the

   position from which the sign must be illuminated from an LED light fixture. See Dkt. 111 at 45-

   50. Indeed, Defendants never hinted at such requirements in their claim construction briefing. See

   Dkt. 97 at 23-27. Mr. Gershowitz’s requirement that the “display surface” or “area” be the size of

   a standard billboard, and lit from the same position as a standard billboard or streetlight, is an

   improper attempt to limit the term to only standard sized billboards in an “end run around” the

   Court’s claim construction requiring a sign surface. See Eidos Display LLC v. Chi Mei Innolux

   Corp., No. 6:11-cv-00201-JRG, 2017 WL 1213819, at *3 (E.D. Tex. Apr. 1, 2017) (“Dr. Kanicki’s


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   opinions regarding ‘metal film’ are simply a creative end run around the Court’s claim

   construction. . . . To allow Dr. Kanicki to opine on the disclosures of the ʼ958 Patent and argue

   that the accused products do not infringe because they do not contain the specific disclosures

   therein would only serve to effectively vitiate the Court’s construction and create an improper non-

   infringement argument that risks confusion to the jury.”). These additional requirements are an

   improper deviation from the Court’s construction and should be struck.

            Second, Mr. Gershowitz admits that he disregarded the Court’s constructions, and imposed

   additional requirements by purporting to apply the light-spillage limitations of non-asserted claims

   in the context of a “display” or “area.”




   1
       Emphasis is added unless otherwise noted.


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                                                                                                 Thus,

   Mr. Gershowitz’s further deviates from the Court’s construction by importing limitations from

   non-asserted claims into construed terms, and purporting to critique Dr. Coleman’s testing on this

   basis.

            Accordingly, Mr. Gershowitz improperly deviated from the Court’s constructions of the

   terms “display surface” and “area,” and his opinions at paragraphs 132-139, 195-201, 215-220,

   222, 228, 232-233, 236, and 239 should be struck.

   V.       CONCLUSION

            Accordingly, Ultravision respectfully requests that Mr. Gershowitz opinions regarding

   the claimed “display surface” and “area” at paragraphs 132-139, 195-201, 215-220, 222, 228,

   232-233, 236, and 239 that conflict with this Court’s Claim Construction Order be stricken.

   Dated: November 23, 2020                             Respectfully submitted

                                                        /s/ Alfred R. Fabricant
                                                        Alfred R. Fabricant
                                                        NY Bar No. 2219392
                                                        Email: ffabricant@fabricantllp.com
                                                        Peter Lambrianakos


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                                             NY Bar No. 2894392
                                             Email: plambrianakos@fabricantllp.com
                                             Vincent J. Rubino, III
                                             NY Bar No. 4557435
                                             Email: vrubino@fabricantllp.com
                                             Joseph M. Mercadante
                                             NY Bar No. 4784930
                                             Email: jmercadante@fabricantllp.com
                                             Daniel J. Shea
                                             NY Bar No. 5430558
                                             Email: dshea@fabricantllp.com
                                             FABRICANT LLP
                                             230 Park Avenue, 3rd Floor W.
                                             New York, New York 10169
                                             Telephone: (212) 257-5797
                                             Facsimile: (212) 257-5796

                                             Samuel F. Baxter
                                             State Bar No. 01938000
                                             Email: sbaxter@mckoolsmith.com
                                             Jennifer L. Truelove
                                             State Bar No. 24012906
                                             Email: jtruelove@mckoolsmith.com
                                             MCKOOL SMITH, P.C.
                                             104 E. Houston Street, Suite 300
                                             Marshall, Texas 75670
                                             Telephone: (903) 923-9000
                                             Facsimile: (903) 923-9099

                                             ATTORNEYS FOR PLAINTIFF
                                             ULTRAVISION TECHNOLOGIES,
                                             LLC




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                                CERTIFICATE OF CONFERENCE

          The undersigned attorney hereby certifies that counsel for Plaintiff conferred with counsel

   for Defendant via telephone on November 23, 2020 in compliance with L.R. CV-7(h-i) regarding

   the issues presented in the foregoing Motion. The Parties were unable to resolve the issues and are

   at an impasse regarding the relief sought, and Court assistance is thus necessary.

                                                /s/ Alfred R. Fabricant
                                                   Alfred R. Fabricant




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 23, 2020, a true and correct copy of the above and

   foregoing document has been served by email on all counsel of record.


                                                      /s/ Alfred R. Fabricant
                                                         Alfred R. Fabricant
